      Case 3:21-cv-00293-JAM Document 1 Filed 03/05/21 Page 1 of 5




                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF CONNECTICUT


 MARIA BORRERO,                                  CASE NO.:

                     Plaintiff,

 v.                                              PETITION FOR REMOVAL
                                                 BASED UPON DIVERSITY
 EDDIE WAYNE CAMPBELL AND                        OF CITIZENSHIP
 SHELBA D. JOHNSON TRUCKING, INC.

                     Defendants.                 MARCH 5, 2021

___________________________________


      NOW COME petitioners/defendants, Eddie Wayne Campbell and Shelba D.

Johnson Trucking, Inc., by and through their undersigned counsel, and respectfully

petition this Honorable Court as follows:

       1.    Petitioners are the defendants in a civil action captioned Maria Borrero

v. Eddie Wayne Campbell, et al., which has been filed in the Connecticut Superior

Court, Judicial District of Danbury at Danbury (hereafter, the "state court action").

The docket number in the state court action is DBD-CV21-6038444-S. A copy of

the Complaint in the state court action is submitted herewith as Exhibit A.

      2.     The Complaint in the state court action sounds in negligence and

arises from a motor vehicle accident alleged to have occurred at about 5:52 p.m. on

February 7, 2019 on Interstate 84 westbound in Danbury. Plaintiff alleges that at

that time and place, Defendant Eddie Wayne Campbell, while in the course and

scope of his employment with Defendant Shelba D. Johnson Trucking, Inc.,


                                            1
       Case 3:21-cv-00293-JAM Document 1 Filed 03/05/21 Page 2 of 5




improperly merged from the left lane into the center lane, causing a collision

between his vehicle and that of the Plaintiff. Please see Complaint, Paras. 2 – 5.

The Plaintiff alleges that this accident and her injuries were proximately caused by

the negligence and carelessness of Defendant Campbell. Please see Complaint,

Para. 6.

       3.     Among the permanent injuries and losses claimed by the plaintiff are

the following: injuries to the cervical spine, thoracic spine, and lumbar spine; lumbar

spinal stenosis; aggravation of pre-existing lumbar injury; chest wall injury;

abdominal contusion; and a sprain/strain of her left knee. The plaintiff claims these

injuries are or may be permanent in nature and that they necessitated medical

treatment including hospitalization, surgical care, diagnostic testing, and

medications, all to her physical and financial loss and detriment.        Please see

Complaint, Paras. 7 – 9. Plaintiff further alleges that he has endured emotional and

sustained a loss of enjoyment of life’s activities. Please see Complaint, Para. 10.

       4.     This action is being removed to the District Court pursuant to Title 28,

United States Code § 1441(a). In support of this Petition for Removal, Petitioners

respectfully state and represent to the Court as follows:

       a.     By Complaint dated January 27, 2021, Plaintiff filed suit against the

Petitioners. Service was accomplished upon Petitioner Eddie Wayne Campbell on

or about February 7, 2021 via certified mail, and on Petitioner Shelba D. Johnson

Trucking, Inc., on February 7, 2021 via certified mail. The Complaint seeks venue

in the Superior Court of Connecticut, the Judicial District of Danbury at Danbury.


                                          2
       Case 3:21-cv-00293-JAM Document 1 Filed 03/05/21 Page 3 of 5




       b.     The Plaintiff is citizen and domiciliary of the State of Connecticut.

Please see Summons, submitted herewith as Exhibit B.

       c.     Petitioner Eddie Wayne Campbell is, and at all times relevant was, a

citizen and domiciliary of the State of North Carolina.

       d.     Petitioner Shelba D. Johnson Trucking, Inc., is a corporation duly

organized and existing under the laws of the State of North Carolina, with its

principal place of business being Thomasville, North Carolina.

       e.     In her Complaint, Plaintiff alleges that as a result of the subject incident

she suffered multiple physical injuries and monetary losses, which are serious and

permanent in nature, including those injuries described in detail above. She further

asserts a claim of a pain and suffering, future loss, inability to pursue his life’s usual

activities, and the need for hospitalization, surgery and diagnostic care. Thus, the

amount in controversy exceeds $75,000.00, exclusive of interest and costs.

       5.     This Court has original jurisdiction over this Action pursuant to 28

U.S.C. §1332(a)(1) because there is complete diversity of citizenship between the

Plaintiff and the Petitioners, and because the amount in controversy exceeds the

sum or value of $75,000.00, exclusive of interest and costs.

       6.     Venue is proper pursuant to 28 U.S.C. §1391(a) and (b), because the

events giving rise to the Plaintiff's claims occurred within the State of Connecticut

and the Petitioners are subject to personal jurisdiction in Connecticut.

       7.     Pursuant to 28 U.S.C. §1446(d), the Petitioners have notified the

Superior Court of the State of Connecticut, Judicial District of Danbury at Danbury,


                                            3
      Case 3:21-cv-00293-JAM Document 1 Filed 03/05/21 Page 4 of 5




of the filing of this Petition. Please see Notice of Removal submitted herewith as

Exhibit C.



      WHEREFORE, based upon the foregoing, Petitioners respectfully request

that the state court action be removed to the United States District Court for the

District of Connecticut pursuant to 28 U.S.C. §1441(a), and that further

proceedings in the Superior Court of Connecticut, Judicial District of Danbury at

Danbury, be discontinued.



                                        Respectfully submitted,

                                        DEFENDANTS/PETITIONERS,
                                        EDDIE WAYNE CAMPBELL AND
                                        SHELBA D. JOHNSON TRUCKING, INC.


                                        By:      /s/ Michael P. Kenney   _____
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                                        4
       Case 3:21-cv-00293-JAM Document 1 Filed 03/05/21 Page 5 of 5




                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF CONNECTICUT


 MARIA BORRERO,                                   CASE NO.:

                      Plaintiff,

 v.
                                                  CERTIFICATE OF
 EDDIE WAYNE CAMPBELL AND                         SERVICE
 SHELBA D. JOHNSON TRUCKING, INC.

                      Defendants.                 MARCH 5, 2021

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        I hereby certify that on March 5, 2021, a copy of the foregoing document was
filed electronically and served by mail upon anyone unable to accept electronic filing.
Notice of this filing will be sent by e-mail to all parties by operation of the Court's
electronic filing system or by mail to anyone unable to accept electronic filing as
indicated on the Notice of Electronic Filing. Parties may access this filing through
the Court's CM/ECF System.


A copy of the foregoing was mailed to:

David Hartshorn, Esq.
Law Offices of Brian Mongeluzzo, LLC
1211 Chase Parkway
Waterbury CT 06708
Attorneys for the Plaintiff



                                          _____/s/ Michael P. Kenney_________
                                          Michael P. Kenney
                                          Fed. Bar No. ct26768




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